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Exhibit A
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QUALITY KITCHENS OF PHILADELPHIA
ANALYSIS OF PAYMENTS TO AMERICAN EXPRESS

DURING THE FOUR YEAR PERIOD JANUARY 20, 2018 THROUGH JANUARY 20, 2022

PAYEES ACCOUNT CREDIT CARD ACCOUNT CHECK CLEARING
NAMES HOLDER NUMBER TYPE CARD DESCRIPTION CHECK # DATE DATE AMOUNT ACCOUNT
Payments Matched to AMEX Business Statements Provided
AMEX 8-01009 Business The MeritCorpCC ACH 03/21/18 03/21/18 1,815.50 SAN 3568
AMEX 8-01009 Business TheMeritCorpCC ACH 03/29/18 03/29/18 65,000.00 SAN 3568
Subtotal of Payments Matched to AMEX Business Accounts 66,815.50
Payments Matched to Stephen Earl AMEX Personal Statements Provided
AMEX Stephen N. Earl 8-02000 Personal Platinum Card ACH 02/16/18 02/16/18 7,662.50 SAN 3568
AMEX Stephen N. Earl 8-02000 Personal Platinum Card ACH 03/15/18 03/15/18 23,021.83 SAN 3568
AMEX Stephen N. Earl 8-02000 Personal Platinum Card ACH 04/16/18 04/16/18 50,000.00 SAN 3568
Subtotal of Payments Matched to Personal Stephen Earl AMEX Statements 80,684.33
Payments on Jonathan Earl AMEX Personal Card #603003/602005
AMEX Jonathan Earl Personal ACH 04/17/18 04/17/18 52,746.00 SAN 3568
Subtotal of Payments on Jon Earl's Personal AMEX Statements 52,746.00
TOTAL PAID TO AMEX 200,245.83
|:\Quality Kitchens of Philadelphia, Inc\Workpapers\Preference Analyses\Vendor Support\AMEX\AMEX Analysis - Quality Page 1 of 1 Bederson LLP 1/9/2024
